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UNITED STATES DISTRICT COURT

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WESTERN DISTRICT OF TENNESSEE W/D GF tied JA‘CKSON
ORDER OF PRODUCTION

NO: 1:03-10083-Ol-T
USA v_ KEVOUS MCKINNEY
A]) Prosequendum
FOR: RE-SENTENC ING HEARING

TO: USM, Western District of TN

Wal‘d€l'l, HARDEMAN COU`NTY CORRECTIONAL FACILITY
P. O. BOX 549, W'HITEVILLE, TN 38075

YOU ARE HEREBY COMMANDED to have the person of

#18731-076
KEvoUs MCKINNEY Inmate # 00254416 (TDOC)

3 5

by you restrained of his/her liberty, as it is said, by Whatsoever names detained, together With the
day and cause of his being taken and detained, before the Honorable James D. Todd, U. S.
District Court Judge, for the Western District of Tennessee, at the room cf said Court, in the City

of Jackson, Tennessee, at 9:00 a.m. on the 9Eh day of Septemb@r , 20 05

 

then and there to do, submit to, and receive Whatsoever the said Judge shall then and there
determine in that behalf; and have you then and there this Writ; further, to hold him in federal

custody until disposition of this case and to produce him for such other appearances as this court

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may direct. ' / /
ENTERED THIS / DAY OF

 

 

 

This document entered on the docket she in compliance
with sure 55 and/or sz(b) FRch on 9»

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
case 1:03-CR-10083 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

J ames W. Povvell

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Honorable J ames Todd
US DISTRICT COURT

